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  8                          UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
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 11     ARTHUR LEE ALFRED II et al.,              Case No.: CV 18-8074-CBM-ASx
 12            Plaintiff,                         ORDER RE: DEFENDANTS’
                                                  MOTION TO DISMISS
 13     v.                                        PLAINTIFFS’ COMPLAINT
                                                  [JS-6]
 14     THE WALT DISNEY COMPANY, et
        al.,
 15
               Defendants.
 16
 17          The matter before the Court is Defendants’ Motion To Dismiss Plaintiffs’
 18    Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). (Dkt. No. 78.)
 19                                 I.     BACKGROUND
 20          This is a copyright infringement action wherein Plaintiffs assert five
 21    “claims” for copyright infringement under the federal Copyright Law Act: (1)
 22    “Infringement of Copyright (Reproduction of Copyrighted Work)”; (2)
 23    “Infringement of Copyright (Preparation of Derivative Works)”; (3) “Infringement
 24    of Copyright (Distribution of Copyrighted Work)”; (4) “Infringement of
 25    Copyright (Public Performance of Copyrighted Work”); and (5) “Infringement of
 26    Copyright (Public Display of Copyrighted Work).” Plaintiffs allege Defendants’
 27    five feature films (i.e., (1) Pirates of the Caribbean: The Curse of the Black Pearl;
 28    (2) Pirates of the Caribbean: Dead Man’s Chest; (3) Pirates of the Caribbean: At
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  1    World’s End; (4) Pirates of the Caribbean: On Stranger Tides; and (5) Pirates of
  2    the Caribbean: Dead Men Tell No Tales) infringe Plaintiffs’ screenplay entitled
  3    Pirates of the Caribbean (the “Screenplay”).
  4                            II.   STATEMENT OF THE LAW
  5    A.    Fed. R. Civ. Proc. 12(b)(6)
  6          Federal Rule of Civil Procedure 12(b)(6) allows a court to dismiss a
  7    complaint for “failure to state a claim upon which relief can be granted.”
  8    Dismissal of a complaint can be based on either a lack of a cognizable legal theory
  9    or the absence of sufficient facts alleged under a cognizable legal theory.
 10    Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990). On a
 11    motion to dismiss for failure to state a claim, courts accept as true all well-pleaded
 12    allegations of material fact and construes them in a light most favorable to the
 13    non-moving party. Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025,
 14    1031-32 (9th Cir. 2008). A court may consider the allegations contained in the
 15    pleadings, exhibits attached to or referenced in the complaint, matters properly
 16    subject to judicial notice, and materials whose contents are alleged in the
 17    complaint, in ruling on a motion to dismiss. Tellabs, Inc. v. Makor Issues &
 18    Rights, Ltd., 551 U.S. 308, 322 (2007); Thomas v. Walt Disney Co., 337 Fed.
 19    App’x. 694, 694-95 (9th Cir. 2009); In re Stac Elec. Sec. Litig., 89 F.3d 1399,
 20    1405 n.4 (9th Cir. 1996).1 To survive a motion to dismiss, the complaint “must
 21    contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
 22    plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 663, (2009) (quoting Bell
 23    Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). If a complaint cannot be
 24    cured by additional factual allegations, dismissal without leave to amend is proper.
 25    Twombly, 550 U.S. at 555.
 26
       1
 27     Plaintiffs’ Screenplay was attached as an exhibit to the Complaint (Dkt. No. 1-1),
       and therefore the Court has considered the Screenplay for purposes of the instant
 28
       Motion.
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  1    B.    Copyright Infringement
  2          “To state a claim for copyright infringement, [Plaintiffs] must plausibly
  3    allege two things: (1) that [they] owns a valid copyright in [the work], and (2) that
  4    [Defendants] copied protected aspects of [Plaintiffs’ work].” Rentmeester v. Nike,
  5    Inc., 883 F.3d 1111, 1116–17 (9th Cir. 2018) (citations omitted). The second
  6    element has two distinct components: “copying” and “unlawful appropriation.” Id.
  7    “When the plaintiff lacks direct evidence of copying, he can attempt to prove it
  8    circumstantially by showing that the defendant had access to the plaintiff’s work
  9    and that the two works share similarities probative of copying.” Id. at 1117.
 10    “Such proof creates a presumption of copying, which the defendant can then
 11    attempt to rebut by proving independent creation.” Id.
 12          “To prove unlawful appropriation, . . . the similarities between the two
 13    works must be substantial and they must involve protected elements of the
 14    plaintiff’s work.” Id. “[W]hether works are substantially similar involves a two-
 15    part analysis consisting of the extrinsic test and the intrinsic test.” Id. at 1118
 16    (internal quotations and citations omitted). A plaintiff must satisfy both
 17    components, and therefore a lack of extrinsic similarity is fatal to a plaintiff’s
 18    copyright case as a matter of law. White v. Twentieth Century Fox Corp., 572 F.
 19    App’x 475, 476-77 (9th Cir. 2014) (citing Funky Films, Inc., 462 F.3d at 1081).2
 20          The extrinsic test “is objective in nature. ‘[I]t depends not on the responses
 21    of the trier of fact, but on specific criteria which can be listed and analyzed.’ The
 22    extrinsic test focuses on ‘articulable similarities between the plot, themes,
 23    dialogue, mood, setting, pace, characters, and sequence of events’ in the two
 24    works. In applying the extrinsic test, this court ‘compares, not the basic plot ideas
 25
 26    2
        The court may determine that the works are not substantially similar as a matter
       of law by on a motion to dismiss by applying the objective extrinsic test. See
 27    White, 572 F. App’x at 476-77; Thomas, 337 F. App’x. at 694-95; Shame on You
       Prods., Inc. v. Banks, 120 F. Supp. 3d 1123, 1150-71 (C.D. Cal. 2015), aff’d sub
 28    nom. Shame on You Prods., Inc. v. Banks, 690 F. App’x 519 (9th Cir. 2017).

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  1    for stories, but the actual concrete elements that make up the total sequence of
  2    events and the relationships between the major characters.’” Funky Films, 462
  3    F.3d at 1081 (citations omitted). “Familiar stock scenes and themes that are
  4    staples of literature are not protected.” Cavalier v. Random House, Inc., 297 F.3d
  5    815, 823 (9th Cir. 2002). In addition, “[s]cenes-à-faire, or situations and incidents
  6    that flow necessarily or naturally from a basic plot premise, cannot sustain a
  7    finding of infringement.” Id. “Therefore, when applying the extrinsic test, a court
  8    must filter out and disregard the non-protectable elements in making its substantial
  9    similarity determination.” Id. at 822-23.3 The Court need not explain in its
 10    analysis every alleged similarity in a copyright infringement case and may
 11    properly disregard alleged similarities that are not protectable. White, 572 F.
 12    App’x at 477 (citing Funky Films, 462 F.3d at 1077 (“[W]e filter out and disregard
 13    the non-protectable elements in making [our] substantial similarity
 14    determination.”)).4
 15                                     III.   DISCUSSION
 16    A.    Judicial Notice
 17          Defendants request that the Court take judicial notice of the following:
 18                 1.       The motion picture Pirates of the Caribbean: The Curse of the
 19                          Black Pearl (Rosen Decl. Ex. 1);
 20
 21    3
         See also Shaw v. Lindheim, 919 F.2d 1353, 1361 (9th Cir. 1990) (applying the
 22    extrinsic test to determine “whether there is substantial similarity between the
       protected expression of ideas in two literary works”); Berkic, 761 F.2d at 1293-94
 23    (rejecting consideration of general ideas as well as scènes-à-faire in determining
       substantial similarity under the extrinsic test).
 24    4
         The intrinsic test is a subjective comparison that focuses on “whether the
       ordinary, reasonable audience would find the works substantially similar in the
 25    “total concept and feel of the works.” Cavalier, 297 F.3d at 822 (internal
       quotations and citations omitted). “[T]he intrinsic test for expression is uniquely
 26    suited for determination by the trier of fact.” Sid & Marty Krofft Television
       Prods., Inc. v. McDonald’s Corp., 562 F.2d 1157, 1166 (9th Cir. 1977).
 27    Accordingly, where the plaintiff satisfies the extrinsic test, “the intrinsic test’s
       subjective inquiry must be left to the jury and [any dispositive motion] must be
 28    denied.” Smith v. Jackson, 84 F.3d 1213, 1218 (9th Cir. 1996).

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  1                 2.        The motion picture Pirates of the Caribbean: Dead Man’s
                              Chest (id., Ex. 2);
  2
                    3.        The motion picture Pirates of the Caribbean: At World’s End
  3
                              (id., Ex., Ex. 3);
  4
                    4.        The motion picture Pirates of the Caribbean: On Stranger
  5                           Tides (id., Ex., Ex. 4);
  6
                    5.        The motion picture Pirates of the Caribbean: Dead Men Tell
  7                           No Tales (id., Ex., Ex. 5); and
  8                 6.        Excerpts from the book Pirates of the Caribbean: From the
  9                           Magic Kingdom to the Movies (2005) by Jason Surrell (id., Ex.
                              6); and
 10
                    7.        two DVDs containing audio and video footage of Disney’s
 11
                              Pirates of the Caribbean theme park rides at Walt Disney
 12                           World as it existed in July and August 2005 (Parras Decl. ¶¶ 3-
                              6, Exs. 1 & 2).
 13
       (Dkt. No. 79 (“RJN”).) Plaintiffs did not file an objection to Defendants’ request
 14
       for judicial notice.
 15
             The Court GRANTS Defendants’ RJN as to the motion pictures and DVDs
 16
       which include audio and/or visuals of the Disneyland and Disney World Pirates of
 17
       the Caribbean theme park rides because they are incorporated by reference into the
 18
       Complaint. (See Compl. ¶¶ 51, 52.)5 The Court DENIES Defendants’ RJN as to
 19
       the book Pirates of the Caribbean: From the Magic Kingdom to the Movies
 20
       (2005) by Jason Surrell (Ex. 6) because neither the book nor its contents are
 21
 22
       5
         See U.S. v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003) (“Even if a document is
 23    not attached to a complaint, it may be incorporated by reference into a complaint
       if the plaintiff refers extensively to the document or the document forms the basis
 24    of the plaintiff’s claim.”); Thomas, 337 F. App’x at 695 (“the district court
       properly considered materials whose contents [plaintiff] alleged in her complaint”
 25    (i.e., Finding Nemo movie) in finding as a matter of law that plaintiff’s literary
       work was not “substantially similar” to defendants’ animated movie and granting
 26    defendant’s motion to dismiss plaintiff’s copyright infringement action); Gilbert v.
       New Line Prods., Inc., 2010 WL 891333 (C.D. Cal. Feb. 17, 2010), aff’d 490 F.
 27    App’x 34 (9th Cir. 2012) (taking judicial notice of the screenplays plaintiff alleged
       were infringed, as well as defendants’ allegedly infringing movie, where there
 28    were “no disputes as to the authenticity of the works”).

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  1    alleged or referenced in the Complaint.
  2    B.    Copyright Infringement
  3          Defendants move to dismiss Plaintiffs’ copyright infringement claims solely
  4    on the ground the parties’ works are not substantially similar as a matter of law.6
  5          (1)    Inverse Ratio Rule
  6          Plaintiffs contend the Court must apply the inverse ratio rule in analyzing
  7    whether the works are substantially similar because Defendants have admitted
  8    access to the Screenplay. Under the “inverse ratio rule,” “a lower standard of
  9    proof of substantial similarity is required when a high degree of access is shown.”
 10    Skidmore for Randy Craig Wolfe Tr. v. Led Zeppelin, 905 F.3d 1116, 1130 (9th
 11    Cir. 2018) (internal quotations and citation omitted). However, the rule “assists
 12    only in proving copying, not in proving unlawful appropriation,” and “[t]he
 13    showing of substantial similarity necessary to prove unlawful appropriation does
 14    not vary with the degree of access the plaintiff has shown.” Id. Therefore, “[t]he
 15    inverse ratio rule has no bearing” in analyzing whether the works are substantially
 16    similar for purposes of determining unlawful appropriation. Rentmeester, 883
 17    F.3d at 1125. Accordingly, the inverse ratio rule is irrelevant here in determining
 18    whether the parties’ works are substantially similar under the extrinsic test.
 19          (2)    Substantial Similarity
 20          To determine whether there is substantial similarity among the parties’
 21    works, the Court must apply an extrinsic analysis of “articulable similarities
 22    between the plot, themes, dialogue, mood, setting, pace, characters, and sequence
 23    of events” in the works. Funky Films, 462 F.3d at 1081. The Court’s objective
 24    comparison of the parties’ works under the extrinsic test is set forth below.
 25                 a.     Plot and Sequence of Events
 26          The Complaint alleges a single purported similarity as to the plot of the
 27
       6
        Defendants do not dispute Plaintiffs sufficiently allege ownership of the
 28    Screenplay and access for purposes of the instant Motion.

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  1    works: “Supernatural ‘cursed’ pirates or ‘skull faced’ pirates.” (Compl. Ex. 5.)
  2    The idea of cursed pirates is scenes-a-faire and unprotectable. Even if such an
  3    idea could be protectable, the Complaint alleges that the Screenplay incorporated
  4    “the basic elements of the Pirates of the Caribbean ride.” (Compl. ¶ 26.) The
  5    Disney theme park rides on which the Screenplay is based feature skeletal pirates
  6    who speak, steer ships, and find treasure. (See RJN Ex. 6.) Moreover, in
  7    Defendants’ first film Pirates of the Caribbean – Curse of the Black Pearl,
  8    Barbossa and his crew’s bodies are skeleton when they appear in moonlight—
  9    whereas Jack Nefarious and his crew have skull faces all the time regardless of
 10    whether they are in moonlight. Therefore, Plaintiffs’ infringement claims cannot
 11    be based on the fact that the works include pirates who are skull-faced or skeletal.7
 12          Plaintiffs also allege the works are similar because they include treasure
 13    maps, ghost pirates, the “undead,” the supernatural, ships flying black sails,
 14    skeletons, privateers, naval attacks, dark fog, the “pirate code,” ghosts, and sea
 15    monsters.8 These alleged similarities, however, are “unprotectable elements”
 16    because they are “familiar stock scenes, and characteristics that flow naturally
 17    from the works’ shared basic plot premise” regarding pirates.9
 18    7
         See Mattel, Inc. v. MGA Entm’t, Inc., 616 F.3d 904, 913 (9th Cir. 2010)
 19    (“[S]cenes a faire (standard features) and unoriginal components aren’t
       protectable.”); id. at 917 (noting that the fact that works both included “stuffed,
 20    cuddly dinosaurs” is “not the sort of similarity we look for in copyright law”
       because “[s]ubstantial similarity for copyright infringement requires a similarity of
 21    expression, not ideas,” and finding defendant’s Bratz dolls “can’t be considered
       substantially similar to Bryant’s preliminary sketches simply because the dolls and
 22    sketches depict young, stylish girls with big heads and an attitude”).
       8
         While the Complaint alleges these purported similarities, the Complaint does not
 23    specifically allege that these purported similarities are similarities in plot.
       9
 24      See Benay v. Warner Bros. Entm’t, Inc., 607 F.3d 620, 625 (9th Cir. 2010)
       (finding the screenplay and film were not substantially similar under the extrinsic
 25    test despite the fact that both were premised on an American war veteran going to
       Japan to help the Imperial Army by training it in the methods of modern Western
 26    warfare for its fight against a samurai uprising; both had protagonists who are
       authors of non-fiction studies on war and who have flashbacks to battles in
 27    America; both included meetings with the Emperor and numerous battle scenes;
       both were reverential toward Japanese culture; both featured the leader of the
 28    samurai rebellion as an important foil to the protagonist; and in both works the
       American protagonist is spiritually transformed by his experience in Japan); see
                                                 7
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  1          Moreover, an objective analysis of the works demonstrates the plot and
  2    sequence of events in Plaintiffs’ Screenplay and Defendants’ films are not
  3    substantially similar. Plaintiffs’ Screenplay is based on Davey Jones, a group of
  4    orphans named the Rascal Scoundrels, and Davey Jones’ love interest Jane, who
  5    are in pursuit of a map leading to treasure. After battling with Jack Nefarious who
  6    has one half of the treasure map, Jones ultimately gives up the treasure for Jane
  7    and the orphans, whom Jones and Jane then raise as their own children.
  8          Defendants’ Films do not focus on a search for treasure. The plot of
  9    Defendants’ first film, Pirates of the Caribbean – The Curse of the Black Pearl, is
 10    about returning treasure Captain Barbossa and his crew found to end a curse they
 11    were put under when they stole the treasure. (See also Plaintiffs’ Opposition at 17
 12    (acknowledging that “Barbossa and his crew are not trying to find lost treasure,
 13    like Nefarious and the Rascals, but trying to return it”).10 Defendants’ second
 14    film, Pirates of the Caribbean – Dead Man’s Chest, focuses on characters trying
 15    to break curses and pay debts owed – Jack Sparrow and Bill Turner’s debts owed
 16    to Davey Jones—and Barbossa’s attempt to seek revenge on Davey Jones who
 17    took the Black Pearl from him. Defendants’ third film, Pirates of the Caribbean –
 18    At Worlds’ End, focuses on saving Jack Sparrow, the characters’ attempt to defeat
 19
 20    also Funky Films, 462 F.3d at 1077-78 (finding the works were not substantially
       similar in plot despite the fact that the works both included an older brother who
 21    moved home from a distant city, was creative in contrast to his conservative
       younger brother, and initially had no interest in becoming involved in the family
 22    business; both works included a business was financially fragile; both included a
       rival funeral home which attempted to take over the home but failed; and both
 23    included a younger brother who changed his church affiliation in order to increase
       their client base, reasoning a closer examination of the works revealed one to be
 24    essentially a murder mystery and the other to be a study of “the way the characters
       struggle with life in the wake of the cataclysmic death of [their] father”).
 25    10
          Plaintiffs argue the plot of parties’ works both feature a search for treasure
       because Plaintiffs’ Screenplay depicts Nefarious, Davey Jones, and the Rascal
 26    Scoundrels are searching for treasure to keep it, and Defendants’ first film depicts
       Barbossa and his crew searching for treasure in order to return it. Pirates
 27    searching for treasure, however, is unoriginal and generic, and therefore
       unprotectable. See Mattel, 616 F.3d at 913 (“[S]cenes a faire (standard features)
 28    and unoriginal components aren’t protectable.”).

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  1    Davey Jones, and Will Turner’s attempt to free his father from the curse tying him
  2    to the Flying Dutchman. Defendants’ fourth film, Pirates of the Caribbean - On
  3    Stranger Tides, focuses on the characters’ race to find the Fountain of Youth.
  4    Defendants’ fifth film, Pirates of the Caribbean – Dead Men Tell No Tales, again
  5    focuses on attempts to break the curses at sea.
  6          Accordingly, the parties’ works are not substantially similar as to plot or
  7    sequence of events under the extrinsic test because “a closer inspection reveals
  8    that they tell very different stories.” Benay, 607 F.3d at 625.11
  9                 b.     Characters
 10          The Complaint alleges the key characters in the Screenplay are delineated
 11    and consistent, widely identifiable with several of the character and characters of
 12    [Defendants’] Pirates franchise.” (Compl. ¶ 71, Ex. 5.)
 13          1. Defendants’ Jack Sparrow / Plaintiffs’ Davey Jones
 14          The Complaint alleges Defendants’ Captain Jack Sparrow character is
 15    “substantially similar” to the character Davey Jones in Plaintiffs’ Screenplay
 16    because Jack Sparrow is repeatedly portrayed in Defendants’ Films as “funny, not
 17    feared,” “repeatedly referred to as a ‘good man,’” cocky but with a “heart of
 18    gold,” and a drunk who loves rum, and Plaintiffs’ Davey Jones is a dashing young
 19    rogue,” clean-shaven, hair pinned back in a tail,” with “unsurpassed” talents in
 20    piracy who is cocky and brave, and a drunk. (Compl. ¶ 13, Ex. 5; Screenplay at 2,
 21    29, 79.) However, cockiness, bravery, and drunkenness are generic, non-distinct
 22    characteristics which are not protectable.12
 23
       11
          See also Wild v. NBC Universal, 513 F. App’x 640, 642 (9th Cir. 2013)
 24    (“[R]andom similarities scattered throughout the works . . . are insufficient to
       support a claim of substantial similarity.”); Gable v. Nat’l Broad. Co., 727 F.
 25    Supp. 2d 815, 844 (C.D. Cal. 2010), aff’d sub nom., Gable v. Nat’l Broad. Co.,
       438 F. App’x 587 (9th Cir. 2011) (finding no substantial similarity in plot where
 26    many of the elements pointed out by plaintiff were not similar when viewed in
       context, and those that did “bear some commonality—e.g., lottery winnings,
 27    prison time, paying off debts—[did] not occur in the same sequence”).
       12
 28       See DC Comics v. Towle, 802 F.3d 1012, 1019 (9th Cir. 2015) (“[C]opyright
       protection is available only for characters that are especially distinctive. To meet
                                                 9
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   1          Moreover, Plaintiffs’ Davey Jones character and Defendants’ Jack Sparrow
   2   character are not substantially similar based on an objective analysis of the works.
   3   As to their appearance, Plaintiffs’ Davey Jones is described as a “dashing young
   4   rogue,” clean-shaven, hair pinned back in a tail (Screenplay 79), whereas
   5   Defendants’ Jack Sparrow is never clean shaven, has facial hair, is dirty, has his
   6   hair in dreadlocks and wears a black hat, and his hair is never pinned back.
   7   Plaintiffs’ Davey Jones character ultimately gives up the treasure he has been
   8   pursuing for love, to raise orphan children, and to return to life as a privateer with
   9   his newfound family at his side. Defendants’ Jack Sparrow never renounces his
  10   piracy, does not have an equivalent love interest, does not care for children, is
  11   willing to sacrifice everything to be captain of his beloved Black Pearl ship, and
  12   continues to live the life of a pirate.
  13          2. Plaintiffs’ Jack Nefarious / Defendants’ Captain Barbossa
  14          The Complaint alleges Defendants’ Captain Barbossa character is
  15   substantially similar to Plaintiffs’ Jack Nefarious character because Barbossa is
  16   introduced in Defendants’ first film The Curse of the Black Pearl in a black outfit
  17   with a black hat, a twisting mustache and goatee, with sunken eyes, and left eye
  18   twitching. (Compl. Ex. 5.) In objectively comparing the works, however,
  19   Barbossa is introduced in the film dressed in dark pirates clothing with a white
  20   collar and a dark feathery hat with a pet monkey on his shoulder, he has a scraggly
  21
       this standard, a character must be sufficiently delineated and display consistent,
  22   widely identifiable traits.”) (internal quotations and citations omitted); Mattel, 616
       F.3d at 917 (noting that the fact that works both included “stuffed, cuddly
  23   dinosaurs” is “not the sort of similarity we look for in copyright law,” and finding
       defendant’s dolls “can’t be considered substantially similar to Bryant’s
  24   preliminary sketches simply because the dolls and sketches depict young, stylish
       girls with big heads and an attitude”); see also Campbell v. Walt Disney Co., 718
  25   F. Supp. 2d 1108, 1115 (N.D. Cal. 2010) (“[T]he characters generically labeled in
       the Complaint only as a ‘cocky kid’ and an ‘older mentor’ are not protected by
  26   copyright law. Moreover, the Court does not find anything outside of the two
       characters’ generic cocky attitude to be similar.”); Esplanade Prods., Inc. v. Walt
  27   Disney Co., 2017 WL 5635027, at *10 (C.D. Cal. Nov. 8, 2017) (the fact that both
       works had characters “acting bravely and determinedly to help others in trouble”
  28   was unprotectable).

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   1   mustache and beard, and yellowish eyes, but his left eye does not twitch.
   2   Plaintiffs’ character Jack Nefarious, on the other hand, is introduced in the
   3   Screenplay as “[a] distinguished naval officer and pirate hunter with a savage
   4   instinct and sinister nature. You’d hesitate to call him the good guy,” and his “left
   5   eye twitches.” (Screenplay at 1-2.) Later in the Screenplay, Nefarious is
   6   described as “[p]ale,” “[e]yes sunken in like a century old dead man,” with a
   7   “dark, twisting mustache with a curving goatee, makes him look more like a
   8   devil,” “clad in a black baroque pirate suit, he is charismatic in an evil way.”
   9   (Screenplay at 47.) Moreover, any similarities between the characters based on
  10   wearing dark pirate clothing and having facial hair are generic and unprotectable.
  11         Plaintiffs also allege Barbossa and Nefarious are substantially similar
  12   because Barbossa is “not a bargainer.” (Compl. Ex. 5.) This characterization of
  13   Barbossa is inaccurate because Barbossa bargains numerous times throughout
  14   Defendants’ Films, including for his own life and the life of his crew.
  15         Plaintiffs also allege Barbossa and Nefarious are substantially similar
  16   because Barbossa was Jack Sparrow’s first mate and betrayed him. (Compl. Ex.
  17   5.) Although Barbossa was Jack Sparrow’s first mate, Barbossa led a mutiny to
  18   overtake the Black Pearl (Jack Sparrow’s ship) and marooned Jack Sparrow on an
  19   island alone. Barbossa and Jack Sparrow continually fight over being captain of
  20   the Black Pearl, and Barbossa ultimately sacrifices himself, with the help of Jack
  21   Sparrow who gives him a sword, to save his daughter Carina from Captain
  22   Salazar. In Plaintiffs’ Screenplay, Jack Nefarious is captain of a privateer ship
  23   which takes control of Davey Jones’ pirate ship, but Nefarious shoots his own first
  24   mate, turns on his crew, and shoots his own privateer ship which causes it to
  25   explode and sink in the ocean because Nefarious and Davey Jones have a deal
  26   regarding finding treasure. It is revealed that Davey Jones was Nefarious’s first
  27   mate, and Davey allows Nefarious to take command of the ship because Nefarious
  28   has the other half of the treasure map. Davey Jones does not maroon Nefarious on

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   1   an island; instead Nefarious tries to take Jones’ half of the map but is pulled into
   2   the ocean by the tentacle of a sea monster. Nefarious later returns as “Phantom
   3   Jack” in search of Davey Jones’s half of the map and the treasure. When they find
   4   the treasure, the cavern floods with water, Phantom Jack is swallowed by a sea
   5   monster, and Davey, Jane, and the orphans escape.
   6         Accordingly, Plaintiffs’ Jack Nefarious character and Defendants’ Barbossa
   7   character are not substantially similar under the extrinsic test.
   8         3. Plaintiffs’ Rascal Scoundrels and Jane
   9         Six orphan children named the Rascal Scoundrels are main characters in
  10   Plaintiffs’ Screenplay. Moreover, the female lead in Plaintiffs’ Screenplay is Jane,
  11   Jones’ love interest, who is depicted as a young, beautiful woman with long red
  12   hair, whose background is not revealed in the Screenplay. (Screenplay at 8.)
  13   Davey Jones ultimately gives up all the treasure for a future with Jane raising the
  14   Rascal Scoundrels. Defendants’ Films, however, do not include a group of orphan
  15   children and have no equivalent to Plaintiffs’ Jane character.
  16         Accordingly, there is no substantial similarity as to the characters of the
  17   parties’ works under the extrinsic test.13
  18                c.     Themes
  19         The Complaint alleges the works are similar in theme because “10 years” is
  20   mentioned in Defendants’ first film Pirates of the Caribbean – The Curse of the
  21   Black Pearl, and “is a continuing theme of time in the films,” and the time period
  22   of ten years also appears three times in the Screenplay. (Compl. Ex. 5.) In
  23   Defendants’ Films, the captain of the Flying Dutchman is cursed and can only go
  24
       13
          See, e.g., Benay, 607 F.3d at 627 (finding no similarity among characters where
  25   there were “a number of important characters in the Film and the Screenplay who
       have no obvious parallel in the other work”); Funky Films, 462 F.3d at 1078-79
  26   (finding no similarity in characters where several central characters in defendants’
       work were “[c]ompletely missing” from or had “no counterpart” in plaintiff’s
  27   work); Bernal, 788 F. Supp. 2d at 1070 (finding no substantial similarity in
       characters where one is clearly the main character and the other is “one of four
  28   main characters that are central to the progression of the series”).

                                                    12
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   1   on land once every 10 years. In the Screenplay, 10 years pass between the first
   2   scene and the second scene when the Rascal Scoundrels are introduced, Jane says,
   3   “ten years later you show up only to say you still love me,” and Jack tells the
   4   Rascal Scoundrels that “[f]or ten years the Phantom [Jack] has stopped at nothing
   5   to get that treasure.” Accordingly, any theme regarding “10 years” as depicted in
   6   the parties’ works is not substantially similar, and the concept of 10 years is
   7   generic and not protectable.
   8         The Complaint also alleges the parties’ works are similar as to theme
   9   because they both include betrayal. (Compl. Ex. 5.) Mutiny and betrayal,
  10   however, are generic stock themes and flow naturally from the premise of pirates
  11   and ships, and therefore unprotectable.14 Moreover, while Plaintiffs’ Screenplay
  12   portrays Davey Jones as Jack Nefarious’s first mate, Davey Jones does not lead a
  13   mutiny against Nefarious. In contrast, in Defendants’ Films, Captain Barbossa
  14   was Jack Sparrow’s first mate, but led a mutiny to overtake Jack’s ship and
  15   marooned Jack on an island. Accordingly, the idea of “betrayal” in the parties’
  16   works is not depicted in a substantially similar manner.15
  17         The Complaint also alleges the works are similar in theme because the main
  18   character in the parties’ works “will be free, a privateer in the employ of
  19   England.” (Compl. Ex. 5.) Defendants’ Jack Sparrow character, however, never
  20   becomes a privateer in Defendants’ Films and continues living the life of the
  21   pirate, whereas Plaintiffs’ Davey Jones character gives up treasure and piracy to
  22   become a privateer and raise orphans with his love interest Jane.
  23         Based on an objective analysis of the works under the extrinsic test, the
  24   14
          See Benay, 607 F.3d at 627 (noting that although both works “explore general
  25   themes of the embittered war veteran, the ‘fish-out-of water,’ and the clash
       between modernization and traditions, . . . those themes arise naturally from the
  26   premise of an American war veteran who travels to Japan to fight the samurai”
       and were therefore unprotectable).
  27   15
          See, e.g., Gable, 727 F. Supp. 2d at 844 (finding no substantial similarity where
       many of the elements pointed out by plaintiff were not similar when viewed in
  28   context).

                                                 13
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   1   Court finds the themes of the works are not substantially similar. The main theme
   2   of Plaintiffs’ Screenplay is the cost of treasure and piracy,16 and the realization
   3   that love and family are worth more than treasure.17 Defendants’ Films include
   4   themes regarding the costs of love,18 and Defendants’ main character Jack
   5   Sparrow never gives up piracy for love, children, or family. Moreover, not all
   6   pirates are evil in Defendants’ Films (e.g., Will becomes a pirate but is not
   7   portrayed as evil) and some of the privateers/non-pirates featured in Defendants’
   8   works are evil or morally corrupt (e.g., privateers for the East India Trading
   9   Company and Lord Becket, Captain Salazar). Furthermore, unlike in Plaintiffs’
  10   Screenplay where the privateers prevail, in Defendants’ film Pirates of the
  11   Caribbean: At World’s End, Lord Becket and the privateers aboard his ship are
  12   killed by pirates.
  13         Accordingly, the themes of the parties’ works are not substantially similar
  14   under the extrinsic test.
  15                d.      Dialogue
  16         Plaintiffs fail to demonstrate “extended similarity in dialogue” in the works
  17   as required for the works to be substantially similar. Shame on You Prods., 120 F.
  18   Supp. 3d at 1156.19 Plaintiffs’ Screenplay does not include dialogue similar to the
  19
       16
          I.e., Nefarious dies because he orders his men to collect the jewels in the cavern,
  20   which causes the cavern to flood; the Rascal Scoundrels believe everything bad
       happened because they wanted to be pirates; Jane feels betrayed by Davey Jones
  21   because he hesitates when Captain Nefarious tells him to choose between Jane or
       the treasure map.
  22   17
          I.e., Davey Jones gives up gold, diamonds and jewels, and the life of the pirate,
  23   in exchange for a future as a family with Jane and the orphans, and returns to life
       as a privateer.
  24   18
          I.e., Davey Jones cuts his heart out because he cannot endure the pain of loving
       Calypso; Bill Turner foolishly wages his soul for an eternity of servitude aboard
  25   the Flying Dutchman to try to save his son Will from losing to Davey Jones in a
       dice game only to realize that Will was playing the game to find where Davey
  26   Jones carried the key to the chest holding his heart which would free Bill Turner;
       Jack seduced Angelica just before she was going to take a vow to become a nun,
  27   Angelica professes her love for Jack but he strands her on an island because he is
       afraid she will seek revenge for her father Blackbeard’s life.
  28   19
          See also Olson v. Nat’l Broad. Co., 855 F.2d 1446, 1450 (9th Cir. 1988)
                                                 14
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   1   dialogue from Defendants’ Films referenced in the Complaint.20 While the Court
   2   notes a few instances of similar dialogue based on its objective review of the
   3   works, such dialogue appears in different contexts, are made by different
   4   characters, and/or are unoriginal because they are identical or substantially similar
   5   to portions of the theme song from Disney’s Pirates of the Caribbean theme park
   6   ride.21 Therefore, the parties’ works are not substantially similar in dialogue under
   7   the extrinsic test.22
   8                 e.        Mood
   9          While the parties’ works include dark scenes involving pirate battles and
  10   sea monsters, the mood flowing from these scenes is unprotectable because it
  11   flows “naturally from unprotectable basic plot premises” involving pirates.23
  12   Moreover, although Plaintiffs’ Screenplay includes skull-faced pirates and a
  13   Phantom Captain Jack, sword fights, and violence, the mood of the Screenplay is
  14   more lighthearted, some of the Rascal Scoundrels repeatedly provide comedic
  15   relief in the form of slapstick comedy,24 and the Screenplay ends with Davey
  16
       (finding no “extended similarity of dialogue [as] needed to support a claim of
  17   substantial similarity”); Gable, 727 F. Supp. 2d at 847-48 (noting that “plaintiff
       must demonstrate ‘extended similarity of dialogue” to support a claim of
  18   substantial similarity based on dialogue, and finding that no reasonable jury could
       conclude that works are substantially similar where, inter alia, there was no
  19   similar dialogue between works).
       20
  20      The Complaint also cites to numerous purported similarities in dialogue among
       the works which are not actually dialogue. (See Compl. Ex. 5.)
  21   21
          Plaintiffs state in their opposition that “some (or perhaps many) of the elements
       that are present in both the Screenplay and the Disney films are generic and
  22   contain what could be considered historical elements in all stories about pirates or
       incorporate popular visual elements from the Pirates of the Caribbean theme park
  23   ride.”
       22
  24      See Cavalier, 297 F.3d at 824-25 (finding no triable issue of fact on the issue of
       whether parties’ works were substantially similar under the extrinsic test where,
  25   inter alia, the works differed “markedly” in dialogue).
       23
          See Shame on You Prods., 120 F. Supp. 3d at 1158 (“Thus, Shame on You
  26   cannot demonstrate there is substantial similarity in mood by arguing that both
       works are light-hearted comedies that involve a walk of shame” because such a
  27   “general mood . . . flows naturally from unprotectable basic plot premises” and is
       not entitled to protection).
  28   24
          E.g., Clumsy who constantly knocks things over, falls, breaks things; Stink who
                                                15
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   1   Jones and Jane kissing with the orphans proudly alongside them. The mood of
   2   Defendants’ Films is much darker, and Defendants’ Films include more violence
   3   such as execution scenes. Accordingly, the mood of the parties’ works is not
   4   substantially similar under the extrinsic test.25
   5                f.     Setting
   6         Plaintiffs argue the setting of the parties’ works is substantially similar
   7   because the works take place primarily aboard ships in the Caribbean, and are set
   8   in a “ghost ship” and cavern. The Complaint, however, alleges Plaintiffs’
   9   Screenplay incorporated “the basic elements of the Pirates of the Caribbean
  10
  11   emits an odor, passes gas, and is constantly made fun of because of his stench; and
       Snooze who falls asleep anywhere.
  12   25
          See, e.g., Silas v. Home Box Office, Inc., 201 F. Supp. 3d 1158, 1180–81 (C.D.
       Cal. 2016) (finding plaintiffs’ screenplay is a dark drama, set primarily at night,
  13   replete with examples of unredeemed moral corruption and no humorous
       moments, whereas defendant’s television series is a comedic drama, set primarily
  14   during the daytime, which focuses on how players spend their time during the off
       season and the relationships they have with their agents, teammates, and friends),
  15   aff’d, 713 F. App’x 626 (9th Cir. 2018); Bissoon-Dath v. Sony Computer Entm’t
       Am., Inc., 694 F. Supp. 2d 1071, 1083 (N.D. Cal. 2010), aff’d sub nom., Dath v.
  16   Sony Computer Entm’t Am., Inc., 653 F.3d 898 (9th Cir. 2011) (finding no
       substantial similarity in themes between the works upon noting that although
  17   “violence is not absent from plaintiffs’ works, it lacks the thematic centrality and
       intensity seen in [defendant’s work]”); Marcus v. ABC Signature Studios, Inc.,
  18   279 F. Supp. 3d 1056, 1071 (C.D. Cal. 2017) (finding the moods of the two works
       were not substantially similar, reasoning “[w]hile both works are billed as
  19   comedies, Across the Tracks takes on a more serious mood with the overt racism
       and clear movement towards a message of family strength and emphasis on
  20   religion as the Johnson family deals with the inappropriate behavior of their
       neighbors,” whereas “Black-ish is much more light-hearted, even ending the
  21   episode with the family dancing at Andre Jr.’s “bro mitzvah”); Bernal v.
       Paradigm Talent & Literary Agency, 788 F. Supp. 2d 1043, 1070 (C.D. Cal. 2010)
  22   (finding the moods of the two works were not substantially similar, reasoning that
       although both works “deal with dark subject matter, Homeless is a drama, while
  23   Desperate Housewives is a comedy,” and noting that “Plaintiff’s work has few
       humorous elements” whereas “[b]y comparison, Defendant’s work is consistently
  24   funny throughout the entire show”); Kouf v. Walt Disney Pictures & Television, 16
       F.3d 1042, 1046 (9th Cir. 1994) (holding the mood of the works “differ
  25   dramatically” and were not substantially similar under the extrinsic test because
       one work was “a light-hearted, family adventure story” whereas the other work
  26   was “a darker adventure that spans a series of days and depicts many locations and
       a shoot-out”); Campbell v. Walt Disney Co., 718 F. Supp. 2d 1108, 1114 (N.D.
  27   Cal. 2010) (finding the moods of two works not substantially similar where one
       contained scenes involving drug dealers and the hero chopping off his own finger
  28   while the other had “‘happy upbeat overtones’”).

                                                  16
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   1   ride.”26 (Compl. ¶¶ 25, 26.) Therefore, the settings of the parties’ works aboard
   2   ships in the Caribbean and in a cavern are unprotectable because they flow from
   3   the natural premise of a story based on Disney’s Pirates of the Caribbean theme
   4   park ride.27 Moreover, the fact that the parties’ works are primarily set aboard
   5   ships, in port towns, and in the Caribbean,28 does not weigh heavily on the issue of
   6   substantial similarity.29
   7         Having reviewed the works under the extrinsic test, the Court finds the
   8   works are not substantially similar based on any similarities in setting.
   9                g.     Pace
  10         Plaintiffs’ work is a 111-page screenplay which depicts a fight between
  11   Davey Jones and Captain Nefarious over a treasure map, and then flashes forward
  12   10 years to telling the story of six orphans living aboard Davey Jones’ ship
  13   looking for the map and treasure, the battle between Nefarious and Jones over the
  14   map and the treasure, and concludes with Nefarious’s death and Davey Jones’s
  15   sacrifice of treasure in exchange for Jane and the orphans. Defendants’ works
  16   include five feature films which are each over two hours long and together total
  17   more than 12 hours. Defendants’ Films span over the course of many years and
  18   portray the various adventures of numerous characters including Jack Sparrow,
  19   26
          Disney’s Pirates of the Caribbean theme park ride features pirates finding
  20   treasure in a cavern, a skeleton pirate steering a ship, and other skeleton pirates.
       (RJN #7, Parras Decl. Exs. 1, 2.)
  21   27
          See, e.g., Shame on You Prods., Inc., 120 F. Supp. 3d at 1159 (“[T]he use of city
       streets is generic and flows from the unprotectable concept of setting a work in a
  22   city); Cavalier v. Random House, Inc., 297 F.3d 815, 824 (9th Cir. 2002) (night
       sky setting was unprotectable scene a faire where it “naturally and necessarily
  23   flows from the basic plot premise”).
       28
  24      Plaintiffs acknowledge in their opposition “it is historically accurate that a
       majority of pirate stories take place in the Caribbean, and therefore not
  25   copyrightable.” (Opposition at 20.)
       29
          See Shaw v. Lindheim, 919 F.2d 1353, 1363 (9th Cir. 1990) (the fact that the
  26   works were both “set in large cities . . . do[es] not weigh heavily in our decision”
       on the issue of substantial similarity); Rice v. Fox Broad. Co., 330 F.3d 1170,
  27   1177 (9th Cir. 2003) (any similarities in setting, such as being filmed in a secret
       location without any audience, was “generic and inconsequential” and therefore
  28   was not substantially similar).

                                                17
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   1   Captain Barbosa, Will and Henry Turner, Elizabeth Swan, and Carina Smith.30
   2   Accordingly, the parties’ works are not substantially similar in pace based on the
   3   Court’s objective review of the works under the extrinsic test.31
   4                                          *        *   *
   5          At most, Plaintiffs have demonstrated random similarities scattered
   6   throughout the parties’ works. Analyzing the plot, themes, dialogue, mood,
   7   setting, pace, characters, and sequence of events as discussed above, the Court
   8   finds the parties’ works are not substantially similar as a matter of law under the
   9   extrinsic test.32
  10   C.     Leave to Amend
  11          Plaintiffs request that the Court “allow the Plaintiffs to amend their
  12   complaints after having the opportunity to view the original scripts used by the
  13   Defendants for the Disney films.” The Complaint, however, alleges Defendants’
  14   Films (not the scripts for the films) infringe Plaintiffs’ Screenplay. (See Compl.
  15   ¶¶ 50, 63, 77, 91, 105.) Therefore, the scripts used for Defendants’ Films are
  16   irrelevant in determining whether Defendants’ allegedly infringing works (i.e.,
  17   Defendants’ five feature films) infringe Plaintiffs’ Screenplay.33 Moreover,
  18
       30
          See The Curse of the Black Pearl (143 minutes); Dead Man’s Chest (150
  19   minutes); On Stranger Tides (136 minutes); At World’s End (169 minutes); and
       Dead Men Tell No Tales (129 Minutes).
  20   31
          See, e.g., Weygand v. CBS Inc., 1997 WL 377980, at *8 (C.D. Cal. May 21,
  21   1997) (pace not substantially similar where one work took place within
       approximately one year whereas the other work spanned over approximately
  22   twenty years).
       32
          See Rappoport v. Ovitz, 242 F.3d 383 (9th Cir. 2000) (“Because Rappoport
  23   demonstrated only random similarities, there is no substantial similarity between
       the works.”); Kouf, 16 F.3d at 1045 (“[W]e are equally unimpressed by Kouf’s
  24   compilation of random similarities scattered throughout the works.”) (internal
       quotations omitted); Zella, 529 F. Supp. 2d at 1137 (granting summary judgment
  25   for defendants where plaintiff “cobbled together” a list of generic elements that
       did not form a specific pattern); Flynn v. Surnow, 2003 WL 23411877, *9 (C.D.
  26   Cal. Dec. 9, 2003) (similarities cited by Plaintiff were “randomly scattered
       throughout the works and ha[d] no concrete pattern . . . in common”).
  27   33
          See Briggs v. Blomkamp, 70 F. Supp. 3d 1155, 1168 n.2 (N.D. Cal. 2014) (the
  28   proper comparison was plaintiff’s copyrighted screenplay and the final version of
       the film, not the film’s screenplay), aff’d sub nom. Briggs v. Sony Pictures Entm’t,
                                                  18
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   1   amendment would be futile since the parties’ works are not substantially similar
   2   under the extrinsic test as a matter of law.34
   3                                  IV.    CONCLUSION
   4         Accordingly, the Court GRANTS Defendants’ Motion to Dismiss
   5   Plaintiff’s Complaint without leave to amend, and DISMISSES Plaintiffs’
   6   copyright infringement claims WITH PREJUDICE.
   7
   8         IT IS SO ORDERED.
   9
  10   DATED: May 13, 2019.
                                               CONSUELO B. MARSHALL
  11                                           UNITED STATES DISTRICT JUDGE
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22   Inc., 714 F. App’x 712 (9th Cir. 2018); Quirk v. Sony Pictures Entm’t Inc., 2013
       WL 1345075, at *6 (N.D. Cal. Apr. 2, 2013) (finding draft scripts for defendant’s
  23   film were irrelevant in copyright action alleging infringement based on
       defendant’s film where the plaintiff did not plead that the scripts constituted
  24   infringing works, and concluding “the only relevant question at this juncture is
       whether the final movie as filmed, edited, and released contains matter
  25   substantially similar to protectable elements of Quirk’s novel”).
       34
          See Rentmeester, 883 F.3d at 1123 (“Nothing disclosed during discovery could
  26   alter the fact that the allegedly infringing works are as a matter of law not
       substantially similar [to Plaintiff’s work].”); Shame on You Prods., 120 F. Supp.
  27   3d at 1150-71 (dismissing copyright infringement claim with prejudice upon
       finding that the works were not substantially similar for purposes of a motion to
  28   dismiss).

                                                 19
